Case 2:18-cr-OOO49-cr Document 10 Filed 04/26/18 Page 1 of 2

U 5 1333 ‘ § .il§’ T§'.I
91 ST§§C;UF L§“§G§§
UNITED sTATEs DISTRICT COURT § é._§i§
FOR THE
DrsTRICT oF vERMoNT 2013 APR 25 FH 2= 52
BY__ \U k
UNITED sTATEs oF AMERICA ) ' f?:' a§. §’§ \,/ t;.& §§§
§ No. 21 IS'U,L,LG,,[
V.
) (49 U.s.C. § 46306)
ANGELO EFTHIMIATOS )
INDICTMENT
The Grand Jury charges:
COUNT 1

l. At all times relevant to the indictment:

a. The Federal Aviation Administration (“FAA”), an agency of the United
States Department of Transportation, Was responsible for the safety of all persons occupying and
operating domestic aircraft. This agency Was further responsible for certifying and regulating the
pilots of civil aircraft. The FAA discharged this responsibility by issuing regulations that, among
other things, determine the qualifications of domestic pilots. Specifically in order to lawfully
pilot a civil aircraft, an individual must obtain an FAA Pilot Certificate.

b. On or about July l, 2014, the FAA revoked ANGELO EFTHIMIATOS’s
pilot certificate, number 3212215. The revocation order advised ANGELO EFTHIMIATOS that
no future application for an airman’s certificate Would be accepted by the FAA and that his
certificate Was revoked for life.

c. Between in or about January 2018 and in or about March 2018, on at least
four separate occasions, ANGELO ETHIMIATOS purchased fuel for aircraft in preparation for

flight or after landing at the Rutland-Southern Vermont Regional Airport (RUT) in North

 

Case 2:18-cr-OOO49-cr Document 10 Filed 04/26/18 Page 2 of 2

Clarendon, Vermont. The fuel purchases included purchases for a Piper aircraft with tail number
N4563F.

d. In the Spring of 201 8, N4563F made multiple trips of short duration, chen
traveling late at night between small airports like Newport State Airport in Rhode Island (UUU),
Nantucket Airport in Nantucket, MA (ACK) and Rutland-Southem Vermont Regional Airpolt
(RUT) after those airports had closed. ANGELO EFTHIMIATOS acted as a pilot for at least
some of these trips.

2. Between on or about April 9, 2018 and on or about April 10, 2018, in the
Distn`ct of Vermont and elsewhere, the defendant ANGELO EF'I`HIMlA'I`OS knowingly and
willfully served in any capacity as an airman without an airman’s certificate authorizing him to
serve in that capacity, in that he piloted N4563F from Nantucket, MA (ACK) to North
Clarendon, Vermont (RUT).
(49 U.S.C. §46306(b)(7))

A 'I`RUE BILL

 

FOREPERSON

_. ,¢\/§s lu~\ haw iv WL
CFRISTINA E. NoLAN (EAPC)
United States Attorney
Burlington, Vermont
April 26, 2018

 

